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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           EASTERN DISTRICT OF VIRGINIA

                                  ALEXANDRIA DIVISION




 UNITED STATES OF AMERICA

                   V.
                                                       CaseNo.l:20Al^Si^S£                     ■URT


 DANIEL BOICE,

                   Defendant.




   DEFENDANT’S REPLY TO THE GOVERNMENT’S OPPOSITION TO

                     MOTION FOR COMPASSIONATE RELEASE




 1. Introduction



 Defendant Daniel Keith Boice respectfully submits this reply to address and refute the arguments

 raised in the government’s opposition to his motion for compassionate release under 18 U.S.C. §

 3582(c)(1)(A). This reply highlights recent developments, corrects misrepresentations, and

 underscores the extraordinai7 and compelling circumstances justifying Defendant’s immediate

 release or home confinement.



 Key Developments Supporting Compassionate Release:

     1.   Reclassification to Care Level 3:


          The Bureau of Prisons (BOP) recently reclassified Defendant's medical care level from 2
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         to 3, affirming the severity of his health conditions and systemic neglect. This change

         directly contradicts the government's assertion of adequate care and underscores the

         urgent need for judicial intervention.


    2.   Untreated and Worsening Health Conditions:

         Defendant has suffered a sudden and unexplained 45-pound weight loss, a dangerously

         enlarging prostate, and worsening complications from Chronic Immune

         Thrombocytopenic Purpura (ITP), hypertension, and a single kidney. These conditions

         remain untreated, presenting a daily, life-threatening risk.


    3.   Projected Home Confinement Release Date:

         Based on the latest First Step Act time credit calculations. Defendant’s home confinement

         release date has been updated to be within 12 months, in December 2025. Defendant

         requests a modest adjustment of 12 months, advancing this date to December 2024, to

         avoid the severe risks posed by systemic neglect and inadequate medical care at FCC

         Butner.



    4.   Misaligned Custody and Security Placement:

         Despite Judge Ellis’s sentencing recommendation for minimum-security placement and

         Defendant’s custody score of 6, the BOP has housed him at FCI Butner Low—a higher-

         security facility—exposing him to unnecessary risks and limiting access to reentry

         preparation.


    5.   Staff Misconduct and Systemic Failures:

         Misconduct by Officer D. Ford, including fabricated disciplinary charges, highlights

         systemic failures at FCC Butner. Though Ford was temporarily suspended after an



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         investigation, he continues to work near Defendant, perpetuating a dangerous and hostile

         environment.



    6.   Low Risk to Public Safety:

         Defendant’s recidivism score is zero, and he has demonstrated extraordinary

         rehabilitation through vocational training, financial responsibility programs, and faith

         based initiatives. These efforts further confirm his readiness for reintegration and the


         absence of any public safety threat.


 Defendant’s circumstances align with 18 U.S.C. § 3582(c)(1)(A) and the Court’s consistent

 emphasis on fairness, proportionality, and individualized assessments. This reply builds upon

 these principles, demonstrating why compassionate release is the appropriate remedy.




 II. Recent Developments


         1. Reclassification to Care Level 3



         a. Summary


 The BOP Central Office reclassified Defendant to Care Level 3 after a comprehensive review of


 his medical records, acknowledging the severity of his chronic and life-threatening conditions.

 This decision, delayed for over three years, reflects systemic failures in Defendant’s care and

 directly refutes the government’s assertion that Defendant’s medical needs have been adequately

 addressed. Such neglect violates statutory obligations under 18 U.S.C. § 3553(a)(2)(D) and

 constitutes extraordinary and compelling circumstances for compassionate release.




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        b. Legal Precedents Supporting Medical Reclassification as Extraordinary and

 Compelling


 Courts have recognized that systemic failures in medical care constitute extraordinary and

 compelling circumstances under § 3582(c)(1)(A):


    ●   United States v. Mangarella, 57 F.4th 197, 200 (4th Cir. 2023): Highlighted the

        necessity of individualized medical assessments, particularly when institutional neglect

        exacerbates an inmate’s vulnerabilities.



    ●   United States v. Beck, 425 F. Supp. 3d 573, 577 (M.D.N.C. 2019): Found systemic

        delays in addressing health needs sufficient for compassionate release.

    .   United States v. Colvin, No. 3:19-cr-179, 2020 WL 1613943 (D. Conn. Apr. 2, 2020):

        Emphasized that institutional failures to address worsening medical conditions justified

        relief.



    ●   United States v, Davis, 62 F.4th 212, 216 (4th Cir. 2024): Recognized the

        incompatibility of incarceration with exacerbated health vulnerabilities.


    ●   United States v. Daniels, No. 2:17-cr-00196 (E.D. Va. Mar. 18, 2021): Highlighted

        systemic deficiencies at FCI Butner Low as extraordinary and compelling grounds for

        release.



    c. Details



 The BOP upgraded Defendant’s care level after external review, highlighting prior errors and

 neglect. However, despite the reclassification:




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    1. Defendant's unexplained weight loss, prostate enlargement, and Chronic ITP remain

          untreated.



    2. No specialist consultations or clinical interventions have been initiated, despite Care

          Level 3 requiring frequent clinical contacts.


    3.    Defendant remains confined at FCC Butner, which accounts for 25% of all BOP inmate

          deaths—a disproportionate statistic linked to systemic neglect {DOJ GIG Report, 2024).


 The systemic neglect mirrors deficiencies identified in Beck and Daniels. Moreover, the lack of

 Care Level 3 minimum-security options restricts Defendant’s placement options, further isolating

 him from appropriate medical care and family support.


          d. Request for Court Action


 As BOP staff will not provide any documentation despite several requests, Defendant

 respectfully requests that the Court order the BOP to produce:


     1.   Internal communications, records and reports related to Defendant’s reclassification and

          current medical condition.



    2. Records outlining Defendant’s future treatment plan and evaluations.


 This documentation will verity that:


    ●     Defendant’s medical condition and reclassification is as stated by both Defendant and


          Government.



    ●     BOP Central Office reclassified Defendant to increased Care Level.



    ●     Butner Medical has not changed their treatment or monitoring or testing of Defendant.



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    e. Conclusion



 Defendant’s Care Level 3 reclassification underscores the life-threatening risks he faces. Judicial


 intervention is necessary to ensure access to life-saving care and a placement consistent with

 fairness and proportionality under 18 U.S.C. § 3553(a).


 2. Projected Home Confinement Release Date


         a. Updated Release Date


 Defendant’s case manager has recently recalculated his home confinement release date to be

 December 2025, reflecting time earned under the First Step Act and Second Chance Act.

 Defendant’s request for compassionate release seeks only a modest adjustment of 12 months.

 advancing this date to December 2024.


         b. Minimal Reduction with Significant Impact


 The modest 12-month adjustment would:


     ●   Allow Defendant immediate access to specialized medical care critical for his survival.


     ●   Alleviate the risk of life-threatening complications from systemic neglect at FCC Butner.


     ●   Ensure Defendant’s reintegration efforts are not undermined by continued incarceration

         under unsafe and medically inadequate conditions.


         c. Supporting Case Law


 Courts have recognized that proximity to release supports compassionate release:


     ●   United States v. Rodriguez, 451 F. Supp. 3d 392, 407 (E.D. Pa. 2020): Proximity to

         release is a significant factor in granting relief


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    .    United States v. Ebbcrs. 432 F. Supp. 3d 421,430 (S.D.N.Y. 2020): Diminished benefit

         of continued incarceration as release approaches supported granting compassionate

         release.



 3, Untreated and Worsening Health Conditions


         a. Summary


 Defendant’s sudden 45-pound weight loss, prostate enlargement, and complications from

 Chronic ITP and hypertension remain untreated, reflecting systemic neglect. These untreated

 conditions present a daily, immediate threat to Defendant’s life, constituting extraordinary and

 compelling circumstances under § 3582(c)(1)(A).


         b. Legal Precedents Supporting Medical Neglect as Extraordinary and Compelling


 Courts have consistently granted compassionate release based on institutional neglect:


    ●    United States v. Beck, 425 F. Supp. 3d 573, 577 (M.D.N.C. 2019): Recognized systemic

         delays in treating critical conditions as extraordinary circumstances.


    ●    United States v. Mangarella, 57 F.4th 197, 200 (4th Cir. 2023): Highlighted failures to

         provide individualized care as justifying relief.


    ●    United States v. Daniels, No. 2:17-cr-00196 (E.D. Va. Mar. 18, 2021): Cited systemic

         neglect at FCI Butner Low as grounds for compassionate release.


     ●   United States v. Clark, 451 F. Supp. 3d 651, 655 (M.D. La. 2020): Found systemic

         delays in addressing health issues sufficient for relief

         c. Details of Defendant’s Untreated Conditions




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    1.   Unexplained Weight Loss:

         Defendant’s 45-pound weight loss remains uninvestigated, raising concerns of

         undiagnosed cancer or other life-threatening conditions.


    2.   Enlarging Prostate:

         Prostate growth has caused urinary complications, with no specialist evaluations

         conducted.



    3.   Chronic ITP and Single Kidney:

         Chronic ITP, coupled with a single kidney, exacerbates Defendant’s vulnerability to

         internal bleeding and infections.


 Despite the BOP’s obligation to address Care Level 3 conditions. Defendant’s needs remain

 unmet, reflecting failures documented in Beck and Daniels.

         d. Conclusion



 Defendant’s untreated health conditions constitute extraordinary circumstances for


 compassionate release. Systemic failures at FCC Butner and the heightened mortality risk

 necessitate judicial intervention to ensure humane treatment and compliance with 18 U.S.C. §

 3553(a).


 4. Misaligned Custody and Security Placement


         a. Summary


 Defendant’s housing at FCl Butner Low—a higher-security facility—contradicts Judge Ellis’s

 sentencing recommendation and Defendant’s custody classification score of 6. This

 misalignment has exposed Defendant to undue risks, deprived him of reentry preparation



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 opportunities, and compounded the systemic neglect of his medical conditions. The

 government’s opposition attempts to mischaracterize an unprovoked attack on Delendant as

 evidence of violent tendencies, ignoring his medical vulnerabilities and the systemic failures that

 placed him in harm’s way.


         b. Legal Precedents Supporting Proper Custody Placement


 Courts have consistently held that misaligned custody placements creating unnecessary risks are

 extraordinary and compelling circumstances:


     ●   United States v. Bellamy, No. 3:12-cr-19-FDW, 2021 WL 1381231, at *3 (W.D.N.C.

         Apr. 12, 2021): Found heightened risks from improper placements sufficient to justify

         compassionate release.


     ●   United States v. Davis. 62 F.4th 212, 216 (4th Cir. 2024): Emphasized the systemic

         failures in ensuring inmate safety as grounds for release.


     ●   United States v. Beck, 425 F. Supp. 3d 573, 580 (M.D.N.C. 2019): Highlighted the

         importance of aligning custody placements with inmates’ security and medical needs.


     ●   United States v. Handy, No. 3:10-cr-00124, 2021 WL 2480100. at *2 (D. Alaska June

         17. 2021): Held that systemic mismanagement of inmate classifications and placements

         warranted judicial intervention.

         c. Details



     1. Judge Ellis’s Sentencing Recommendation:

         Judge Ellis explicitly recommended placement in a minimum-securi ty facility,

         recognizing Defendant’s low-risk classification and medical needs. Despite meeting all



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          criteria for minimum-security placement, the BOP has confined Defendant at FCI Butner

          Low, a higher-security institution.


     2.   Exposure to Violence:

          Defendant’s misaligned placement subjected him to an unprovoked attack, which could

          have been fatal given his Chronic Immune Thrombocytopenic Purpura (ITP) and single

          kidney. If Defendant’s ITP had been active, the attack could have caused fatal internal

          bleeding or a cerebral hemorrhage. The government’s failure to acknowledge these risks

          underscores the systemic failures jeopardizing Defendant’s life.


     3.   Segregated Housing Unit (SHU):

          Following the attack, Defendant was placed in FCC Butner’s shared SHU, which houses

          inmates of all security levels together in unsafe and unsupervised conditions. This

          arrangement directly contravenes BOP guidelines and has resulted in multiple inmate

          deaths due to mismanagement and violence.


     4.   Barriers to Reentry Preparation:

          Defendant’s placement at a higher-security facility has denied him access to family

          support, vocational programming, and other resources critical for successful

          reintegration.

          d. Conclusion



 Immediate action is necessary to address the systemic misalignment between Defendant’s

 custody classification and placement. Transferring Defendant to a minimum-security facility,

  such as SCP Petersburg, or granting compassionate release would ensure alignment with his

 classification and medical needs, consistent with 18 U.S.C. § 3553(a).



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 5. Staff Misconduct and Systemic Failures


           a. Summary


  Defendant has endured egregious misconduct by Officer D. Ford at FCl Butner Low. Ford

 falsified federal documents to fabricate charges of possessing a dangerous item, leading to

 Defendant’s placement in the SHU and the filing of a 100-series SHOT—the most severe

 disciplinary infraction in the BOP. Though an investigation exonerated Defendant and resulted in

  Ford’s temporary suspension, Ford has since returned to a position of authority, continuing to

 threaten and intimidate Defendant. This misconduct highlights systemic failures within the


  Bureau of Prisons (BOP) that endanger Defendant’s safety and necessitate judicial intervention.


     b. Documented Misconduct by Officer D. Ford



      1.   Fabricated Charges:

           Officer Ford falsified federal incident reports and chain-of-custody documentation,

           securing senior staff signatures to legitimize his lies. These actions resulted in Defendant

           being charged with a 100-series SHOT, carrying penalties including loss of good conduct

           time, transfer to a higher-security facility, and additional incarceration.


     2.    Threats and Intimidation:


           Ford attempted to provoke inmate violence against Defendant by labeling him a “snitch,'

           a tactic known to incite assaults in federal facilities. After his temporary suspension. Ford


           returned to Butner Low, where he resumed his position and told Defendant, “all they did

           was make aggressive more aggressive.” Ford is currently the FCI Butler Low compound

           officer, an escalated senior position running the entire compound and access to every




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          housing unit at night without executive oversight. Ford also works shifts at the minimum

          security camp at Butner.


     3.   Systemic Implications:

          Ford's continued employment despite documented misconduct exemplifies the BOP’s

          failure to address staff abuses. Ford’s presence at both FCI Butner Low and its minimum-

          security camp creates an ongoing threat to Defendant’s safety.


     c. Legal Precedents Addressing Staff Misconduct


 Courts have recognized that staff misconduct and systemic failures constitute extraordinary and

 compelling circumstances:


     .    Spencer V. Krause. No. 17-2264, 2017 WL 2264855, at *2 (9th Cir. June 6, 2017): Held

          that deliberate fabrication of evidence by government officials undermines due process

          and warrants intervention.



     ●    Harlow v. Fitzgerald, 457 U.S. 800, 815 (1982): Emphasized the accountability of

          government officials who violate constitutional rights.


     ●    Farmer v. Brennan. 511 U.S. 825. 834 (1994): Established that prison officials must

          protect inmates from known risks of harm.


     ●    United States v. Handy, No. 3:10-cr-00124, 2021 WL 2480100, at *2 (D. Alaska June

          17, 2021): Cited systemic staff misconduct as grounds for compassionate release.


     d. Request for Court Action


 As BOP staff will not provide any documentation despite several requests, Defendant

  respectfully requests that the Court order the BOP to produce:


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     1.   Internal communications, personnel and disciplinary records and reports related to

          Officer Ford reclassification.



     2. Any records, communications, documentation pertaining to the incident described above

          regarding the fabrication of charges and falsification of federal government documents by

          Ford.



 This documentation is essential to evaluate the urgency of Defendant’s needs and the

 appropriateness of continued incarceration at FCC Butner.


     d. Systemic Failures to Address Staff Misconduct

     1.   Broader Patterns of Abuse:


          The DOJ’s Office of the Inspector General (OIG) has documented chronic misconduct

          and lack of accountability within the BOP. Reports of unchecked violence, staff

          corruption, and inadequate oversight at FCC Butner mirror Defendant’s experiences.

     2.   Inmate Deaths and Violence:


          Multiple incidents at FCC Butner. including the February 2024 death of Glenn

          McDougald at FCI Butner Medium II, illustrate the consequences of systemic failures in

          staff' oversight and inmate protection {CBSl 7 Report).


     e. Conclusion



  The pervasive misconduct and systemic failures at FCC Butner necessitate judicial intervention.

  Officer Ford’s continued presence underscores the dangers Defendant faces daily. Compassionate

  release is essential to ensure Defendant’s safety and uphold the principles ofjustice and fairness.




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  6. Convergence of Extraordinary Factors and Systemic Failures Necessitate Judicial

  Intervention



         a. Summary


  Each of the extraordinary factors outlined in the preceding sections—untreated and worsening

  medical conditions, misaligned custody placement, and systemic staff misconduct

  independently justifies compassionate release. Together, they present a profoundly compelling

  case for judicial intervention. Defendant’s circumstances highlight not only his individual

  suifering but also broader systemic failures within the Bureau of Prisons (BOP). These failures

 jeopardize Defendant’s life, subvert the principles of justice, and transform his incarceration into

  one of undue hardship and disproportionate risk.


  The government’s opposition fails to address these systemic deficiencies, instead weaponizing

  Defendant’s medical vulnerabilities and traumatic experiences to undermine his case. By

  contrast, the Bureau of Prisons has validated Defendant’s claims through its reclassification of

  him to Care Level 3. This convergence of extraordinary factors underscores the urgent need for

 judicial intervention to rectify the ongoing injustices faced by Defendant.


     b. Independent Justification of Each Factor


      1. Untreated and Worsening Health Conditions:

          Courts have consistently recognized that inadequate medical care constitutes

          extraordinary and compelling circumstances under § 3582(c)(1)(A). In United States v.

          Beck, 425 F. Supp. 3d 573, 577 (M.D.N.C. 2019), the court granted release due to delays

          in addressing serious health conditions, emphasizing the necessity of individualized




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        care. Defendant’s circumstances     <;hronic IIP, unexplained weight loss, and a

        dangerously enlarging prostate—align directly with these principles.

     2. Reclassification to Care Level 3:


        Defendant’s reclassification underscores the severity of his medical conditions and

        validates his claims of systemic neglect. In United States v. Mangarella, 57 F.4th 197,

        200 (4th Cir. 2023), the court emphasized the importance of addressing institutional

        failures that exacerbate an inmate’s vulnerabilities.



     3. Misaligned Custody and Security Placement:

        Improper custody placements that expose inmates to undue risks have been recognized

        as extraordinary circumstances. In United States v. Bellamy, No. 3:12-cr-19-FDW, 2021

        WL 1381231, at *3 (W.D.N.C. Apr. 12, 2021), the court found that misaligned

        placements justified compassionate release. Defendant’s placement at FCI Butner Low

        mirrors these conditions, exposing him to heightened risks and systemic neglect.


     4. Staff Misconduct and Retaliation:


        Systemic misconduct and fabricated charges by Officer Ford exemplify the institutional

        failures endangering Defendant’s life. In Spencer v. Krause, No. 17-2264, 2017 WL

        2264855, at *2 (9th Cir. June 6, 2017), the court held that deliberate fabrication of

        evidence by government officials undermines fairness and due process. Similarly,

        Harlow v. Fitzgerald, 457 U.S. 800, 815 (1982), emphasizes the necessity of

        accountability for government misconduct.


     5. BOP’s Broader Systemic Failures:

         The DOJ’s Office of the Inspector General has repeatedly documented chronic



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          understaifing, unchecked violence, and inadequate medical care within the BOP. These

          findings align with Defendant’s lived experience, further justifying judicial intervention

          {DOJOIG Report, May 2024).


 Each factor independently satisfies the threshold for extraordinary and compelling circumstances

 under § 3582(c)(1)(A). Collectively, they reveal a systemic breakdown necessitating immediate

 judicial action.


         c. Broader Implications of These Failures


 When viewed collectively. Defendant’s circumstances highlight a profound failure of the BOP to

 fulfill its statutory obligations under 18 U.S.C. § 3553(a)(2)(D) to provide necessary medical

 care and ensure humane treatment. The systemic neglect, mismanagement, and misconduct

 within the BOP not only endanger Defendant but also erode the integrity of the judicial process.


 The government’s opposition dismisses these systemic failures and instead weaponizes

 Defendant’s medical vulnerabilities to undermine his case. This approach reflects a fundamental


 misunderstanding of the principles of fairness and proportionality that this Court has consistently

 upheld. Compassionate release is not merely an act of leniency but a recognition of the systemic

 injustices that have disproportionately burdened Defendant.


 The broader failures of the BOP, including high-profile incidents of violence and neglect, further

 emphasize the urgency of judicial intervention. For example, the February 2024 death of Glenn

 McDougald at FCI Butner Medium II underscores the dangers of systemic mismanagement and

 inadequate oversight {CBS! 7 Report).


         d. The Court’s Role in Ensuring Justice




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  This Court has the unique opportunity to address these systemic injustices and protect Defendant

  from further harm. In United States v. Davis, 62 F.4th 212, 216 (4th Cir. 2024), the court

  emphasized the importance of considering whether incarceration exacerbates a defendant’s

  vulnerabilities in ways incompatible with sentencing purposes. Defendant’s case exemplifies this

  principle, as his continued incarceration under these conditions is both unjust and inhumane.

  Judicial intervention is essential to ensure that Defendant receives the medical care, safety, and


  proportionality in sentencing that have been egregiously denied to him. Compassionate release

  aligns with this Court’s commitment to fairness, individualized consideration, and the statutory

  purposes of sentencing.


         e. Conclusion



  The convergence of extraordinary factors—including untreated medical conditions, systemic

  neglect, misaligned placement, and staff misconduct—demands immediate judicial intervention.

  Each factor independently justifies compassionate release, but together they present a profoundly

  urgent case for protecting Defendant’s life and restoring the principles of justice and humanity to

  this proceeding. Immediate compassionate release is the only remedy consistent with this Court’s

  values and the statutory mandates of 18 U.S.C. § 3553(a).


  *(See United States v. Bellamy, No. 3:12-cr-19-FDW, 2021 WL 1381231, at *3 (W.D.N.C. Apr.

  12, 2021); United States v. Brown, 457 F. Supp. 3d 691, 701 (S.D. Iowa 2020); United States v.

  Beck, 425 F. Supp. 3d 573, 580 (M.D.N.C. 2019); Farmer v. Brennan, 511 U.S. 825, 834 (1994);

  United States v. Handy, No. 3:10-cr-00124, 2021 WL 2480100, at 2 (D. Alaska June 17, 2021)).




  III. Response to Oppositio


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           1. Health Conditions and Systemic Medical Neglect


 a.   Chronic Immune Thrombocytopenic Purpura (ITP) and Related Vulnerabilities

 The Government minimizes Defendant’s severe Chronic ITP and its associated risks. This


  autoimmune disorder, combined with his single kidney, leaves Defendant exceptionally

  vulnerable to fatal internal bleeding or irreparable damage from minor injuries.


  Despite his reclassification to Care Level 3, the Bureau of Prisons (BOP) has not provided

  adequate treatment or monitoring for this life-threatening condition. Reclassification itself

  highlights the insufficiency of his prior care, directly refuting the Government’s claim that

  Defendant’s medical needs are being met.


  Relevant Case Law



       ●   United States v. Mangarella, 57 F.4th 197, 200 (4th Cir. 2023) (systemic healthcare

           failures constitute extraordinary and compelling reasons for compassionate release).


       ●   United States v. Beck, 425 F. Supp. 3d 573, 577 (M.D.N.C. 2019) (release granted due to

           systemic delays in treating chronic medical conditions).


       ●   United States v. Davis, 62 F.4th 212, 216 (4th Cir. 2024) (systemic neglect, combined

           with medical vulnerabilities, rendered continued incarceration disproportionately harsh).


  The systemic neglect jeopardizes Defendant’s life daily, transforming his sentence into one of

  undue hardship.


           b. Unexplained Weight Loss and Enlarging Prostate


  Defendant’s sudden 45-pound weight loss (nearly 25% of his body weight) and an enlarging

  prostate remain untreated, raising concerns of an undiagnosed critical illness. Despite these


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 alarming symptoms, the BOP has failed to conduct diagnostic tests or provide appropriate

 treatment.




  This neglect mirrors failures recognized by courts as extraordinary circumstances justifying

  release:



      ●      Beck, 425 R Supp. 3d at 577 (delays in diagnosing and treating life-threatening

             conditions constitute compelling reasons for relief).


      .      United States v. Colvin, No. 3:19-CR-179, 2020 WL 1613943, at *2 (D. Conn. Apr. 2,

             2020) (systemic failures in healthcare justified compassionate release).

             c. COVID-19 Risks



  The Government’s reliance on vaccination rates ignores Defendant’s unique vulnerability to

  COVID-19. Chronic ITP, hypertension, and a single kidney exacerbate the risks of severe

  complications. Moreover, the BOP’s punitive quarantine measures in dealing with COVID deter

  inmates from seeking testing, artificially suppressing reported infection rates.


  Relevant Case Law



      ●      United States v. Perez, 451 R Supp. 3d 288, 293 (S.D.N. Y. 2020) (heightened risks of

             COVID-19 for inmates with preexisting conditions warranted release).


      ●      United States v. Jones, 980 R3d 1098, 1102 (6th Cir. 2020) (acknowledging systemic

             failures in pandemic responses as grounds for relief).


             2. Misaligned Custody Placement


             a. Disregard of Custody Classiifcation




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 Despite a custody score of 6 and “Out” designation. Defendant is confined at FCI Butner Low, a

  higher-security facility. This placement contradicts Judge Ellis’s sentencing recommendation for

  minimum-security placement and exposes Defendant to heightened risks of violence.

         b. Exposure to Violence


  The Government mischaracterizes a violent incident involving Defendant as evidence of


  misconduct. In reality, the unprovoked attack by an intoxicated inmate forced Defendant to

  defend himself to survive. His Chronic ITP and single kidney amplify the risks of fatal

  consequences from even minor injuries, making his defensive actions a matter of survival.

  Relevant Case Law



     .    United States v. Bellamy, No. 3:12-CR-I9-FDW, 2021 WL 1381231, at *3 (W.D.N.C.

         Apr. 12, 2021) (misaligned placements creating undue risks supported compassionate

         release).


     ●    United States v. Brown, 457 F. Supp. 3d 691, 701 (S.D. Iowa 2020) (highlighted the

         impact of improper security placements on safety and rehabilitation).


         3. Projected Release to Home Detention


         a. Projected Dale and Breakdown


  Defendant's case manager, Ms. Williams, has calculated his projected release to home detention

  under the First Step Act (FSA) and Second Chance Act to be December 2025, only 12 months

  from the date of this filing. This calculation includes:


      1. FSA Time Credits (FTC): Defendant has earned sufficient FTC credits under          U.S.C.

         § 3632(d)(4), significantly reducing his release date.


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     2.   Home Confinement under Second Chance Act: Defendant qualifies for up to 6 months

          of additional home confinement under the Second Chance Act {18 U.S.C. § 3624(c)).



     3. Ongoing FSA Credits: Defendant continues to earn 15 additional days per month

          through FSA participation, which contributes to further reductions in his confinement

          period.


          b. Supporting Case Law’


  Courts have recognized that proximity to release or eligibility for home detention supports

  compassionate release:


     ●    United States v. Rodriguez, 451 F. Supp. 3d 392. 407 (E.D. Pa. 2020) (proximity to

          release is a significant factor in granting relief).


     .    United States v. Ebbers, 432 F. Supp. 3d 421,430 (S.D.N.Y. 2020) (diminished benefit of

          continued incarceration as release approaches).

          c. Conclusion



  Defendant's eligibility for release to home confinement in December 2025 demonstrates that his

  request for compassionate release advances this timeline by only 12 months. This modest

  reduction aligns with the principles of proportionality and fairness under § 3553(a).

          4. Staff Misconduct



          a. Fabricated Charges by Officer D. Ford


  Officer Ford’s documented fabrication of disciplinary charges against Defendant represents a

  severe breach of due process. Ford falsified federal incident reports and attempted to extend




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  Defendant’s incarceration unjustly. While an investigation led to Ford’s suspension, his

  continued employment perpetuates a hostile and dangerous environment.

  Relevant Case Law



     .   Spencer v. Krause, No. 17-2264, 2017 WL 2264855, at *2 (9th Cir. June 6, 2017)

         (fabricated evidence undermines due process).


     ●   Harlow V. Fitzgerald, 457 U.S. 800, 815 (1982) (accountability for government officials

         violating constitutional rights).

         5. Rehabilitation



         a. Evidence of Rehabilitation


  Defendant has completed every available program, earning certifications in construction safety.

  HVAC repair, and financial responsibility, among others. He has also participated in faith-based

  and parenting programs, demonstrating commitment to self-improvement and reentry

  preparation.


  Relevant Case Law



     ●   United States v. Rodriguez, 451 F. Supp. 3d 392, 407 (E.D. Pa. 2020) (post-sentencing

         rehabilitation critical to compassionate release decisions).


     .   United States v. Ebbers, 432 F. Supp. 3d 421, 430 (S.D.N.Y. 2020) (rehabilitation and low

         recidivism risk supported release).


         6. Proportionality and Fairness




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  Defendant has already served the majority of his sentence, meeting the punitive goals ot §

  3553(a). Continued incarceration under unsafe conditions disproportionately burdens him,

  contradicting principles of fairness and humanity.

  Relevant Case Law



     ●   Davis, 62 F.4th at 216 (systemic neglect exacerbating vulnerabilities justified

         compassionate release).


     ●   Beck, 425 F. Supp. 3d at 577 (systemic healthcare failures as extraordinary and

         compelling reasons for relief).


         7. Conclusion



  The confluence of untreated medical conditions, systemic neglect, misaligned placement, staff

  misconduct, and exceptional rehabilitation efforts presents a compelling case for compassionate

  release. Defendant’s circumstances align with legal precedents emphasizing fairness.

  proportionality, and the protection of human dignity.


  For these reasons. Defendant respectfully requests that the Court grant his motion for

  compassionate release or immediate transfer to home confinement.




  IV. Conclusion



  For the reasons outlined above. Defendant respectfully requests that this Court grant his motion

  for compassionate release under 18 U.S.C. § 3582(c)(1)(A). Immediate release or release to

  home confinement—just 12 months earlier than currently projected—would ensure Defendant's

  access to adequate medical care and protection from life-threatening risks at FCl Butner.


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      As recognized in hnited States v. Davis, 62 F.4th 212. 216 (4th Cir. 2024), courts must carefully

      evaluate whether continued incarceration exacerbates a defendant's vulnerabilities in ways

      incompatible with the purposes of sentencing. Defendant's case exemplifies this principle, as his
      continued incarceration under these conditions is both unjust and inhumane.

      Immediate release would ensure Defendant s access to the specialized care needed to address his

      unique medical conditions while also mitigating the risks of violent incidents that could uniquely
      result in fatal consequences due to his chronic health conditions.

      Alternative!). Defendant requests the appointment of counsel to assist in a fair and equitable
      resolution of this matter. The complexit)’ of the issues raised—spanning systemic failures,

      statutory interpretation, and the intersection of health and sentencing considerations—

      necessitates professional representation to ensure Defendant's rights are fully protected and the

      Court's decision is grounded in all peninent facts and legal precedents.

      RpsnertfFilIv submitted.




      Daniel Keitn Boice


      December 10, 2024




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